        Case 8-20-08049-ast                        Doc 169-2 Filed 04/22/25 Entered 04/22/25 09:18:55
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                                            United States Bankruptcy Court
                                                      Eastern District of New York
                                                           290 Federal Plaza
                                                        Central Islip, NY 11722

IN RE:                                                                                        CASE NO: 8−20−08049−ast
   Ehrenberg v. Arvind Walia et al


                                     DEBTOR(s)




                                       TRANSMITTAL OF NOTICE OF APPEAL

TO THE CLERK, U.S. DISTRICT COURT, EASTERN DISTRICT OF NEW YORK:

A Notice of Appeal was filed on April 21, 2025, by Jeffrey P Nolan on behalf of Howard M Ehrenberg appealing
Order Granting and Denying in Part Judgment against Defendants, Judgment against Defendants, document number
153, 157.

Pursuant to Bankruptcy Rule 8003(d)(1), the following documents are being transmitted:
1. Cross Appeal Filed by Jeffrey P Nolan on behalf of Howard M Ehrenberg (Civil Action 25−cv−02032).
2. Order Granting and Denying in Part Judgment against Defendants.
3. Judgment against Defendants.
4. Bankruptcy Court Docket Sheet.




                Dated: April 22, 2025                                                Paul Dickson, Clerk of Court


                                                                                     By: O. Eichhorn

                                                                                     Deputy Clerk
         BLtroapap.jsp [Transmittal of Notice of Appeal AP 04/17/17]
